            Case 1:20-cr-00188-JSR Document 186 Filed 02/23/21 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                        Plaintiff,                             Case No. 20-cr-188 (JSR)

                   v.

RUBEN WEIGAND and HAMID AKHAVAN,

                        Defendants


               DECLARATION OF MICHAEL J. GILBERT IN SUPPORT OF
              DEFENDANT RUBEN WEIGAND’S MEMORANDUM OF LAW
            IN OPPOSITION TO THE GOVERNMENT’S MOTIONS IN LIMINE

       I, MICHAEL J. GILBERT, declares as follows:

       1.       I am licensed to practice in New York, admitted to the Bar of this Court, and a

Partner at the firm Dechert LLP, attorneys for Defendant Ruben Weigand (“Weigand”) in the

above-captioned case. I submit this declaration in support of Weigand’s Opposition to the

Government’s Motions in Limine, ECF Nos. 168 and 170.

       2.       Attached as Exhibit A is a true and correct copy of GX 4004-A, bates-stamped

USAO_41004-A and excerpted at pages 82−83.

       3.       Attached as Exhibit B is a true and correct copy of screenshots taken from Web

Shield’s website on February 23, 2021.

       4.       Attached as Exhibit C is a true and correct copy of the Government’s November

3, 2020 Expert Notice provided to defense counsel in the above-captioned case pursuant to Rule

16 of the Federal Rules of Criminal Procedure.




                                                 1
         Case 1:20-cr-00188-JSR Document 186 Filed 02/23/21 Page 2 of 2




I hereby declare under penalty of perjury that the foregoing is true and correct.


 Dated: New York, New York                           /s/ Michael J. Gilbert
 February 23, 2021                                   Michael J. Gilbert




                                                 2
